                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )       No.:   3:10-CR-110-7
                                                   )              (VARLAN/GUYTON)
 COURTNEY WAYNE WALDEN,                            )
                                                   )
               Defendant.                          )


                                           ORDER

        This criminal case is before the Court on the Motion of Defendant, Courtney Wayne

 Walden for Reconsideration of Release Pending Sentencing [Doc. 210], pursuant to 18

 U.S.C. § 3145(c). Prior to the defendant’s change of plea hearing, the defendant submitted

 a motion for release pending sentencing, pursuant to § 3145(c) [Doc. 207]. The government

 responded in opposition to the motion. After hearing argument, the Court orally denied the

 motion, finding that the defendant had not stated an exceptional reason warranting his release

 pending sentencing, as required by § 3145(c). The Court also denied the defendant’s oral

 motion that the Court reconsider that ruling. The defendant has now moved, in writing, for

 reconsideration of those orders. The government has responded in opposition [Doc. 228].

 I.     18 U.S.C. § 3143(c)

        Title 18 U.S.C. § 3143(a)(2) provides for mandatory detention for certain crimes,

 including distribution of a mixture and substance containing a detectable amount of cocaine,




Case 3:10-cr-00110-TAV-HBG         Document 231        Filed 09/26/11    Page 1 of 8    PageID
                                         #: 924
 a violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), the crime to which the defendant pled

 guilty. Section 3145(c) provides that:

                        A person subject to detention pursuant to section 3143(a)(2) or
                        (b)(2), and who meets the conditions of release set forth in
                        section 3143(a)(1) or (b)(1), may be ordered released, under
                        appropriate conditions, by the judicial officer, if it is clearly
                        shown that there are exceptional reasons why such person’s
                        detention would not be appropriate.

 18 U.S.C. § 3145(c).

        The U.S. Court of Appeals for the Sixth Circuit has found that § 3145(c) does not

 preclude a district judge from making a determination of exceptional reasons in support of

 release even though that provision appears at the close of a section on review and appeal.

 United States v. Cook, 42 F. App’x 803, 804 (6th Cir. 2002). In United States v. Christman,

 the Sixth Circuit clarified its position on this issue, holding that a district court erred in not

 considering whether a defendant had established exceptional reasons to support his request

 for release pending sentencing. 596 F.3d 870, 871 (6th Cir. 2010).

        The Sixth Circuit has not definitively ruled on what constitutes the sort of

 “exceptional reasons” that would justify release pending sentencing. Christman, 596 F.3d

 at 870-71 (holding simply that pursuant to § 3145(c), a district court may order a defendant

 released pending sentencing upon a showing of “exceptional reasons”). See also Cook, 42

 F. App’x at 804 (holding that the district judge did not err in holding that cooperation with

 the government and hardship to the defendant’s family and his business associates did not

 amount to exceptional circumstances). Nor does the statute itself define the parameters of


                                                 2


Case 3:10-cr-00110-TAV-HBG          Document 231        Filed 09/26/11      Page 2 of 8     PageID
                                          #: 925
 an “exceptional reason.” See 18 U.S.C. § 3145(c). Courts, however, appear to agree that

 circumstances must be “out of the ordinary,” “uncommon,” or “rare,” and that the reasons

 should “set[] [the defendant] apart from any one else convicted” of a similar crime or crimes.

 United States v. Koon, 6 F.3d 561, 563 (9th Cir. 1993). It has also been noted that

 exceptional reasons exist where there is “a unique combination of circumstances giving rise

 to situations that are out of the ordinary.” United States v. DiSomma, 951 F.2d 494, 497 (2d

 Cir. 1991); see also United States v. Little, 485 F.3d 1210, 1211 (8th Cir. 2007) (“We have

 said that ‘exceptional’ means something ‘clearly out of the ordinary, uncommon, or rare.’”)

 (citation omitted).

        In each case, “the determination of whether ‘exceptional reasons’ have been clearly

 shown is quintessentially a fact-intensive inquiry requiring a case by case analysis.” Koon,

 6 F.3d 564 (citing United States v. Herrera-Soto, 961 F.2d 645, 647 (7th Cir.1992) and

 United States v. DiSomma, 951 F.2d 494, 497 (2d Cir.1991)). The district judge, therefore,

 has broad discretion in the factors the judge might consider when determining whether

 exceptional reasons for release exist. United States v. Garcia, 340 F.3d 1013, 1018 (9th Cir.

 2003) (the district court has discretion “to consider all the particular circumstances of the

 case before it”); DiSomma, 951 F.2d at 497 (“district judges have the full exercise of

 discretion in these matters”).

 II.    The Defendant’s Request for Release Pending Sentencing

        The defendant requests that the Court reconsider its previous denials of the

 defendant’s requests for release pending sentencing. While the defendant acknowledges that

                                               3


Case 3:10-cr-00110-TAV-HBG         Document 231       Filed 09/26/11     Page 3 of 8     PageID
                                         #: 926
 the determination of exceptional reasons is within the discretion of the Court, he submits that

 an intense view of the law underlying the variations on what constitutes exceptional reasons,

 coupled with the circumstances of his case, may lead the Court to reconsider its previous

 order.1 The defendant urges the Court to reconsider the following circumstances as

 exceptional reasons for his release: the defendant is a single parent and the sole custodian and

 source of support for his children, ages 12, 14, and college-age; the children’s grandparents

 are unable to care for them due to their own health concerns; the children’s mother cannot

 care for the children due to her battles with substance addiction; the defendant does not

 receive aid other than food stamps; the defendant is employed; and since the inception of this

 case, the defendant has cared for the two children of his brother and co-defendant, Bryan

 Walden. Last, the defendant submits that he has obtained financial aid for college and

 withdrawing during the term may have a deleterious effect on his ability to obtain financial

 aid and cause his aid for the current term to be immediately due and payable.

        The defendant compares the circumstances of his case to that of the defendant in

 United States v. Kaquatosh, 252 F. Supp. 2d 775 (E.D. Wis. 2003). In Kaquatosh, a case

 from the Seventh Circuit, the defendant pled guilty to two charges of assault causing serious

 bodily injury. Id. at 776. Following his arrest, and prior to entering his guilty plea, the

 defendant was released for six months on his own recognizance. Id. At his plea hearing, the



        1
         The Court does not have evidence that the defendant is likely to flee or that he poses a
 danger to the safety of any other person or the community. See 18 U.S.C. § 3143(a)(1), (b)(1); 18
 U.S.C. § 3145(c). Accordingly, the Court only addresses the “exceptional reasons” factor.

                                                4


Case 3:10-cr-00110-TAV-HBG          Document 231        Filed 09/26/11     Page 4 of 8     PageID
                                          #: 927
 government requested that the defendant be remanded into custody. The district court

 concluded, however, that exceptional reasons were present for allowing the defendant to

 remain on release pending sentencing. Id. at 776-77. The district court found detention of

 the defendant to be inappropriate for four reasons: (1) the defendant performed exceptionally

 well on pre-trial release, including successfully completing substance abuse treatment and

 testing negatively for illegal substances; (2) the defendant obtained employment and

 performed excellently; (3) the defendant desired a psychological evaluation and treatment

 prior to imprisonment, treatment which the defendant’s probation officer endorsed and

 represented could be promptly arranged; (4) the defendant indicated that his steady

 employment enabled him to regularly send money home to his family. Id. at 779-80.

        The defendant acknowledges in his motion that district courts have differed on what

 may constitute exceptional reasons, [see Doc. 210, p. 3], and viewing the totality of the

 circumstances surrounding this defendant’s case, this Court concludes again that the

 defendant has not clearly shown the existence of exceptional reasons that warrant his release

 pending sentencing. See Garcia, 340 F.3d at 1022 (“Only in truly unusual circumstances

 will a defendant whose offense is subject to the statutory provision be allowed to remain out

 on bail.”) (emphasis added). The Court finds that the defendant’s good behavior while out

 on pretrial release, and the inevitable personal and financial hardship facing the defendant

 and his family, do not add up to the sort of “exceptional reasons” contemplated under the

 statute. Furthermore, the defendant has cited no basis under Sixth Circuit law for the Court

 to find otherwise.

                                              5


Case 3:10-cr-00110-TAV-HBG         Document 231      Filed 09/26/11     Page 5 of 8    PageID
                                         #: 928
        First, there is nothing unusual about a defendant who, after realizing he is facing

 serious criminal charges, decides to remain on his best behavior. Second, the defendant’s

 difficulties in determining who will care for his children, while unfortunate, are sadly

 circumstances that are not unusual or exceptional in this type of case or in other cases before

 this Court. Third, the Sixth Circuit has affirmed a district court’s holding that hardship to

 family and business associates, along with cooperation with the government, do not amount

 to exceptional circumstances. See Cook, 42 F. App’x at 803-04. See also United States v.

 Schimley, No. 1:08 CR 510, 2010 WL 1796337, at * 2 (N.D. Ohio. 2010); United States v.

 Lippold, 175 F. Supp. 2d 537, 540 (S.D.N.Y. 2001) (collecting cases and noting that

 “circumstances that are ‘purely personal’ do not typically rise to the level of ‘exceptional

 warranting release’”). Finally, the defendant’s circumstances are similar to the defendant in

 United States v. Christman, in which the defendant argued that the substantial hardship on

 his family, particularly his seventeen-month son, the defendant’s enrollment in college, his

 cooperation with the government, and the unlikeliness that the defendant would flee,

 constituted exceptional reasons for his release. 712 F. Supp.2d 651, 655-56 (E.D. Ky. 2010).

 The district court was “sympathetic” to the defendant’s situation, but denied release, finding

 that “personal and familial hardship and disruption to an individual’s educational or

 professional affairs are the natural, if unfortunate, consequences of finding oneself at the

 mercy of the criminal justice system.” Id. at 656.




                                               6


Case 3:10-cr-00110-TAV-HBG         Document 231       Filed 09/26/11     Page 6 of 8     PageID
                                         #: 929
        While the defendant’s circumstances, his separation from his children, his financial

 troubles, and his potential problems with obtaining financial aid for college are unfortunate,

 these circumstances are not unusual or exceptional consequences of a term of incarceration.

 See, e.g., United States v. Larue, 478 F.3d 924, 925 (8th Cir. 2007) (concluding that a

 defendant’s release pending sentencing was improper because “compliance with the terms

 of his pretrial release, his lack of a criminal record, his payment of child support, and his

 ongoing employment . . . are not clearly out of the ordinary, uncommon, or rare”); United

 States v. Bonzek, No. 08 Cr. 361(PAC), 2009 WL 2924220, at *4 (S.D.N.Y. Sept. 8, 2009)

 (noting that the defendant’s “personal situation–that he is the primary caretaker for his ill

 partner and that he is concerned about the status of his apartment while he is imprisoned is

 typical of many criminal defendants and is neither remarkable nor uncommon”). While the

 Court notes that this defendant’s circumstances are similar in some respect to the defendant

 in Kaquatosh, given the lack of cases from the Sixth Circuit finding that family and financial

 circumstances of this type constitute exceptional reasons for release pending sentencing and

 the Court’s review of cases in other circuits in which such circumstances have been

 discussed, the Court declines to find similarly to the district court in Kaquatosh and hold that

 the circumstances of this case constitute exceptional reasons for the defendant’s release.2




        2
         The Court also notes that in Kaquatosh, one of the exceptional reasons found by the district
 court was that the probation office agreed that the defendant was in need of a psychological
 evaluation prior to incarceration. No such circumstance is present in this case.

                                                  7


Case 3:10-cr-00110-TAV-HBG           Document 231        Filed 09/26/11      Page 7 of 8      PageID
                                           #: 930
 III.   Conclusion

        Accordingly, and for the reasons given above and at the change of plea hearing, the

 Motion of Defendant, Courtney Wayne Walden for Reconsideration of Release Pending

 Sentencing [Doc. 210] is DENIED.

        IT IS SO ORDERED.



                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




                                             8


Case 3:10-cr-00110-TAV-HBG        Document 231      Filed 09/26/11    Page 8 of 8   PageID
                                        #: 931
